           Case 1:13-cr-00362-AWI-BAM Document 504 Filed 08/05/16 Page 1 of 2


 1

 2

 3

 4                               UNITED STATES DISTRICT COURT
 5                              EASTERN DISTRICT OF CALIFORNIA
 6

 7   UNITED STATES OF AMERICA,                           CASE NO. 1:13-CR-0362 AWI-5
 8                         Plaintiff
                                                         ORDER SETTING NEW SURRENDER
 9                 v.                                    DATE
10   LADONNA LEE MOON,
11                         Defendant
12

13
            On June 10, 2016, the Court granted Defendant Ladonna Lee Moon’s motion to extend her
14
     surrender date. See Doc. No. 491. Pursuant to the order, the Court continued Defendant’s
15
     surrender date “until the Ninth Circuit Court of Appeals rules on [Defendant’s] pending motion
16
     for bail pending appeal.” Id. On July 27, 2016, the Ninth Circuit denied Defendant’s motion for
17
     bail pending appeal. See Doc. No. 501. Because the Ninth Circuit has denied Defendant’s
18
     motion, the Court will now set a new surrender date.
19
            Accordingly, IT IS HEREBY ORDERED that:
20
     1.     Having been sentenced to the custody of the Bureau of Prisons, Defendant shall surrender
21
            to the institution designated by the Bureau of Prisons, or if no such institution has been
22
            designated, to the United States Marshal’s Office in Fresno, California by 2:00 p.m. on
23
            September 2, 2016. Defendant is further advised it is a criminal offense punishable by a
24
            consecutive term of imprisonment to fail to surrender for service of sentence pursuant to
25
            the order of this Court, and
26
     2.     All other conditions of release shall remain in full force and effect until Defendant
27
            surrenders pursuant to this order.
28
          Case 1:13-cr-00362-AWI-BAM Document 504 Filed 08/05/16 Page 2 of 2


 1
     IT IS SO ORDERED.
 2

 3   Dated: August 4, 2016
                                       SENIOR DISTRICT JUDGE
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                           2
